          Case 2:21-cr-00311-CDJ Document 26 Filed 09/20/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                              CRIMINAL ACTION

                v.

 STANLEY WOLOFF                                        NO. 21-311

                                            ORDER

        AND NOW, this 20th day of September, 2022, upon consideration of defendant’s request

to submit a restitution payment prior to the entry of the Judgment in this case, IT IS ORDERED

that defendant’s request is GRANTED. The Clerk of Court shall accept from the defendant a

payment in the amount of $200,000.00 that shall be credited to his restitution obligation in this

case.

                                                     BY THE COURT:

                                                     /s/ Hon. C. Darnell Jones II

                                                         JONES II, C. DARNELL, J.
